
704 N.W.2d 809 (2005)
2005 ND 168
In the Matter of the Application for DISCIPLINARY ACTION AGAINST Richard C. WILKES, a Member of the Bar of the State of North Dakota
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner
v.
Richard C. Wilkes, Respondent.
No. 20050297.
Supreme Court of North Dakota.
October 4, 2005.

DISBARMENT ORDERED
PER CURIAM.
[¶ 1] Richard C. Wilkes was admitted to practice as an attorney at law in the courts of North Dakota on September 22, 1976, and his name has appeared on the roll of attorneys since that date. On January 15, 2004, Wilkes was placed on interim suspension under N.D.R. Lawyer Discipl. 3.4(B) until further order of the Court. See Disciplinary Board v. Wilkes, 2004 ND 13, 673 N.W.2d 614. After a hearing on the matter, Wilkes's suspension was continued in effect. See Disciplinary Board v. Wilkes, 2004 ND 18, 674 N.W.2d 1.
[¶ 2] A Petition for Discipline asserts that Wilkes's conviction of two felonies for attempt to evade and defeat tax assessment under 26 U.S.C. § 7201 and mail fraud under 18 U.S.C. § 1341 violates N.D.R. Lawyer Discipl. 4.1, and is grounds for discipline under N.D.R. Lawyer Discipl. 1.2.
[¶ 3] Wilkes signed a Stipulation and Consent to Discipline, acknowledging the material facts are true and cannot be successfully defended. Wilkes admits the Stipulation is given freely and voluntarily and without coercion or duress. Wilkes further agrees to discipline in the form of disbarment and the payment of costs of $250.
[¶ 4] The matter was submitted to a Hearing Panel of the Disciplinary Board under N.D.R. Lawyer Discipl. 4.2. The Report of the Hearing Panel was filed August 30, 2005. The Hearing Panel found that Wilkes was convicted of two felonies for attempt to evade and defeat tax assessment under 26 U.S.C. § 7201 and mail fraud under 18 U.S.C. § 1341.
[¶ 5] The Hearing Panel concluded that Wilkes's conviction is a serious crime within the meaning of N.D.R. Lawyer Discipl. 4.1. Further, Wilkes's conviction is a violation of N.D.R. Lawyer Discipl. 1.2 which provides a lawyer may be disciplined for committing a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer.
[¶ 6] The Report of the Hearing Panel was referred to the Supreme Court under N.D.R. Lawyer Discipl. 3.1(F)(2). The Court considered the matter, and
[¶ 7] ORDERED, the Report of the Hearing Panel and the Stipulation and Consent to Discipline are accepted, and Richard C. Wilkes is DISBARRED from the practice of law.
[¶ 8] FURTHER ORDERED, Richard C. Wilkes pay the costs and expenses of the disciplinary proceedings in the amount of $250, payable to the Secretary of the Disciplinary Board.
[¶ 9] GERALD W. VANDE WALLE, C.J., DANIEL J. CROTHERS, MARY MUEHLEN MARING, DALE V. SANDSTROM, and CAROL RONNING KAPSNER, concur.
